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 4
 5   Attorney for Defendant
     Tiffany Pippins
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     THE UNITED STATES OF                              )   No. 2:07-cr-00449 MCE
12   AMERICA                                           )
                                                       )
13                          Plaintiffs,                )   STIPULATION AND ORDER TO RESET
                                                       )   STATUS CONFERENCE
14          v.                                         )
                                                       )
15   TIFFANY PIPPINS,                                  )
                                                       )
16                     Defendant.                      )
     __________________________________                )
17
18          Defendant Tiffany Pippins by and through counsel Krista Hart, and defendant Jasmin
19   Butts by and through counsel Shari Rusk, along with the United States (government) by and
20   through counsel Assistant U.S. Attorney Kyle Reardon hereby stipulate and agree the status
21   conference currently set for July 3, 2008, be vacated and reset for a change of plea on July 24,
22   2008, at 9:00 a.m.
23          It is further stipulated and agreed between the parties that the period of time from July 3,
24   2008, up to and including July 24, 2008, be excluded in computing the time within which the trial
25   of the above criminal prosecution must commence for purposes of the Speedy Trial Act. All
26   parties stipulate and agree that this is an appropriate exclusion of time within the meaning of Title
27   18, United States Code, sections 3161(h)(8)(B)(iv) (Local Code T4).
28   ///
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 1          The parties in this case have been engaged in settlement negotiations and the government
 2   has provided written plea agreements; the defendants requested modifications and changes in the
 3   plea agreements. It appears we are very close to resolving the matter. The additional time is
 4   necessary to review the modified written plea agreements with the clients, conduct necessary legal
 5   research.
 6
 7   DATED: July 2, 2008                                 /s/ Krista Hart
                                                         Attorney for Defendant
 8                                                       Tiffany Pippins
 9
     DATED: July 2, 2008                                  /s/ Shari Rusk
10                                                       Attorney for Defendant
                                                         Jasmin Butts
11
12   DATED: July 2, 2008                                 McGregor Scott
                                                         United States Attorney
13
14                                                       /s/ Kyle Reardon
                                                         Assistant U.S. Attorney
15
16
17
18
                                                      ORDER
19
20
     IT IS SO ORDERED.
21
22
23    Dated: July 2, 2008

24                                                     ________________________________
                                                       MORRISON C. ENGLAND, JR.
25
                                                       UNITED STATES DISTRICT JUDGE
26
27
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